                          United States District Court
                        Western District of North Carolina
                               Asheville Division

 Melvin Richard Robinson III,         )              JUDGMENT IN CASE
                                      )
 Plaintiff,                           )            1:20-cv-00372-MOC-WCM
                                      )
                  vs.                 )
                                      )
 Southeastern Sports Medicine and     )
 Orthopedic, Pardee UNC Healthcare,   )
                                      )
 Defendants.                          )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s January 11, 2021 Order.

                                               January 11, 2021
